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        Multi-Jurisdictional Law Enforcement Task Force Addendum to 2005 Justice
                          Assistance Grant Application Continued.




                          Drug Threat Assessment




                            Summit County, Ohio
                             Threat Assessment prepared by,

                                Captain Hylton E. Baker
                             Summit County Sheriff's Office
                               Summit County Drug Unit

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                                   Akron, Ohio 44308

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                                 Fax : 330 -374 -7603


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     I.     Introduction

     Threat Assessment for the Greater Summit County, Ohio area.

     A.     Data Sources

     Akron Beacon Journal

     Akron/Canton Area Partners for Progress

     Akron/Canton Regional Airport

     Akron -Fulton International Airport

     Akron Metropolitan Housing Authority

     Akron Police Department

     Barberton Police Department

     Bureau of Alcohol, Tobacco and Firearms

     Cleveland Plain Dealer

     Cuyahoga County Airport

     Cuyahoga Falls News Press

     Cuyahoga Falls Police Department

     Dassault Falcon Aircraft Corporation

     Detroit Metropolitan Airport

     DHL Worldwide Express

     Drug Enforcement Administration (Cleveland -R/O)

     Federal Bureau of Investigation (Akron-R/0)

     Federal Express

     Greater Akron Drug Task Force

     Greyhound




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         John S. Knight Foundation

         Kent State Airport

         National Drug Intelligence Center

         Northeast Ohio Trade and Economic Consortium (NEOTEC)

         Ohio Bureau of Criminal Identification & Investigation

         Ohio Department of Agriculture

         Ohio Department of Development, Office of Statistic Research

         Ohio High Intensity Drug Trafficking Areas (HIDTA)

         Ohio Highway Patrol

         Ohio Office of Criminal Justice Services

         Pittsburgh International Airport

         Portage County Regional Airport

         Springfield Township Police Department

         Stow Police Department

         Summit County Drug Unit

         Summit County Emergency Management Agency

         Summit County Engineer

         Summit County Medical Examiners Office

         Summit County Sheriff's Office

         The Repository

         Toledo Express Airport

         Twinsburg Police Department

         United Parcel Services
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C        United States Citizenship and Immigration Service

         United States Coast Guard

         United States Department of Agriculture

         United States Department of Commerce, Bureau of the Censes

         United States Department of Homeland Security, Office of Immigration Statistics

         University of Akron Police Department

         Youngstown -Warren Regional Airport



         This assessment is based on intelligence information and observations as a result of

         various drug investigations conducted throughout Summit County. Governmental

         statistical data provides an intimate view of the county. Combined, this data provides a


0        profile of drug abuse and drug distribution trends that threaten to undermine the socio-

         economic fabric of the communities and citizens that make up Summit County, Ohio.




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C        IL Environmental and Related Threats:


            A. Geography:


         Summit County is located in northeast Ohio. It was so named because it has the highest

         elevation on the Ohio and Erie Canal. The total population figures as established in the

         2000 U. S. Census is 542,899 (Note: 2003 population figure is 546,733, representing an

         increase of 0.7 %). Summit County encompasses a total area of 420 square miles,

         including 7 square miles of water. 2000 U.S. Census Bureau figures indicate a population

         density of 1,315.4 persons per square mile. Summit County includes the municipal

         jurisdictions of Akron, Barberton, Bath, Clinton, Copley, Coventry Township, Cuyahoga

         Falls, Fairlawn, Green, Hudson, Village of Lakemore, Macedonia, Manchester,


0        Mogadore, Munroe Falls, New Franklin, Northfield, Northfield Center, Norton,

         Peninsula, Reminderville, Richfield, Silver Lake, Springfield Township, Stow,

         Tallmadge, Twinsburg, Twinsburg Township and Uniontown. Summit County is

         strategically located between Chicago, Illinois and New York City, New York. A

         network of major interstate highways including I -71, I-76, I -77, and I -80 are found in or

         near Summit County. These highways also allow access to other major highways

         including I -70, I-75, and I-90. By location alone, the greater Summit County, Ohio area

         presents itself as a prime area of opportunity for the transportation and distribution of

         illicit drugs by drug -trafficking organizations.


         Summit County is home to the Blossom Music Center, located in northern Summit

         County. Blossom Music Center is known nationwide as a concert entertainment venue.

c        Blossom Music Center receives 350,000 visitors per year from across the nation,



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C        attending various concert opportunities. Associated with many patrons of the venue are

         various illicit drugs. In the past three years, officers of the Summit County Drug Unit

         have arrested more than 400 patrons for trafficking, use and possession of illegal drugs.

         Drugs transported into Summit County and seized at this location include significant

         amounts of Marijuana, PCP, Methamphetamine, Cocaine, LSD, Heroin, and Psilocybin.


         Additionally, there are three airports within Summit County; two are commercial and

         both have international designations. Long Lake which is part of the Portage Lakes area

         is a designated landing location for Pontoon Planes. Within 50 miles of Summit County

         there is access to seven airports, two with international designations. Within 100 miles of

         Summit County there are an additional five airports with international designations,

         including Detroit, Michigan, which is a source city for the distribution of cocaine into
O
         the Summit County, Ohio area.


         Summit County rests within 35 miles of the Port of Cleveland, which offers access

         overseas and Great Lakes shipping of millions of tons of cargo annually. Private pleasure

         craft abound on Lake Erie and boats going back and forth to Canada are virtually un-

         checked. The Ohio -Canada border encompasses approximately 146 miles, including

         forested areas, the Great Lakes, and numerous rivers. The waterways and airfields along

         the border compound the enforcement difficulties for border and local authorities. The

         Great Lakes and St. Lawrence River borders constitute approximately 5,592 miles of

         shoreline, including hundreds of isolated islands and long stretches of remote wilderness.

         These waterways are home to millions of recreational and commercial vessels, among

C        which trafficking vessels may hide. Small aircrafts traversing the border fly relatively



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     unimpeded between the two countries. Radar coverage is virtually nonexistent, and many

     aircraft cross the border unrestricted, landing at unmonitored airfields.


     Drug transportation and distribution have increased especially in inter -city areas among

     students and street gangs. Within Summit County there is one State University with a

     transient student population of approximately 23,000. In a Summit County Drug Unit

     case several University of Akron students were arrested and charged in a conspiracy to

     distribute Canadian marijuana in the Summit County, Ohio area. There are fifty-two

     identified motorcycle / street gangs with an estimated 973 members. In addition, there

     are forty -three Akron Metropolitan Housing Authority (AMHA) sites with 762 homes

     and 4,013 Section 8 (low income) residences with a combined total of more than 13,509

     residents. Historically these areas have been havens for street gang members distributing

     their illicit wares.


     Law enforcement efforts must be continually focused upon identifying and dismantling

     drug- trafficking organizations while utilizing sophisticated and innovative investigative

     techniques. Related statistics for the Summit County Drug Unit convey the importance of

     concentrated interdiction efforts and investigations to terminate the activity of drug -

     trafficking organizations in this geographic region of Ohio, and the United States.




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         1.     Air Threat:

         Locally:

         Akron -Canton Regional Airport, located on the Summit/Stark county line is the primary

         airfield serving the region. The facility operates scheduled domestic airline services and

         is a U.S. Customs (ICE) landing rights

         airport. The Akron -Canton Regional                                        j'
                                                                                   .Y
         Airport averages over 342 flights per

         day of commercial, air taxi and general

         aviation flights. The airport

         accommodates approximately

         1,500,000 passengers per year. The Akron -Canton Regional Airport is currently engaged

         in a $55 million dollar renovation project. Flights are expected to increase by 50 percent
O        to major cities, including New York (LaGuardia), Orlando, Las Vegas and Houston. The

         airport projects that by 2008 it will accommodate 1,800,000 passengers per year. The

         airlines accommodate inbound and outbound cargo transportation services. Since 1990

         interdiction efforts at the Akron -Canton Regional Airport have included the seizure of

         more than 45 pounds of marijuana, cocaine in excess of a kilogram and, as well as the

         drug couriers themselves. Summit County Drug Unit Interdiction Officers have observed

         a slowdown in interdictions since 9/11 and the subsequent security measures; however, it

         is important to note that during a recent large scale, complex poly -drug conspiracy case

         conducted by the Summit County Drug Unit, numerous curriers were utilized by several

         drug- trafficking organizations to body carry multiple -ounce quantities of crystal

         methamphetamine, ketamine, and cocaine onto aircraft from source cities bringing the
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          drugs into Summit County and northern Ohio through the Akron -Canton Regional
C         Airport and Cleveland- Hopkins International Airport. Akron Fulton International Airport,

          located in the southeast of the City of Akron is primarily utilized for general aviation and

          corporate flights. The Akron -Fulton Airport averages approximately 20 flights per day.

          The Airport's International designation is utilized to accommodate the Goodyear Blimps.

          All international corporate flights are required to utilize the Akron -Canton regional

          Airport. Flights originating from airfields within the United States can land at this airport.

          Kent State Airport, located in the southwest of the City of Stow is primarily utilized for

          general aviation and flight school training. The airport averages approximately 200

          flights per day, mostly flight training operations. The airport averages approximately

          60,000 flight operations per year. The airfield accommodates business class aircraft, and

          has successfully landed planes as large as the Dassault Falcon 900, with a cargo capacity
C         of 127 cubic feet. Flights originating from airfields within the United States can land at

          this airport virtually unchecked.


          Airfields within a 50 mile radius, or approximately one hour drive from Summit County:

          Cleveland Hopkins International Airport, located in western Cuyahoga County is the

          major flight facility and port of entry in the Cuyahoga, Summit, Stark, Medina, Lake

          and Portage County area. The airport averages approximately 916 flights per day and is

          the hub for Continental Airlines. The Cleveland Hopkins International Airport services

          major air carriers as well as providing mail and cargo hubs including United Parcel

          Service, Fed -Ex and DHL Worldwide Express and connecting spoke systems.

          International flights connect this facility to England, Canada, Mexico, the Bahamas and


C         other Caribbean Islands which all have major airfields connecting to additional secondary



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      airports.


      Burke Lakefront Airport, located on the shore of Lake Erie near the inner-city of

      Cleveland, Ohio. The airport is used primarily for corporate and general aviation.

      International flights are accommodated at this facility.


      The Cuyahoga County Airport, located in eastern Cuyahoga County. This facility is used

      primarily for general aviation as well as air taxi and cargo flights. The facility averages

      approximately 70,000 flights per year. International flights are accommodated at this

      facility.


      The Portage County Regional Airport, located in Ravenna, in central Portage County.

      This facility is used primarily for general aviation. The facility accommodates local cargo

      shipment carriers, and receives approximately 730 -1100 incoming flights annually

      originating from airfields throughout the United States. The facility has 24 hour aviation

      fuel service. The airfield can handle private aircrafts up to the Citation Jet. In a Summit

      County investigation, a local pilot utilized a personal Cessna 210 Aircraft to transport

      multi -kilogram shipments of cocaine from Florida into Summit County for distribution.

      This individual utilized several of the smaller low -key airfields within and surrounding

      the greater Summit County area, including the Portage County Regional Airport, where

      this aircraft was seized.


      The Youngstown-Warren Regional Airport, located 10 miles north of Youngstown in

      Trumbull County. This facility has been designated as an International Free Trade

      Zone. The facility normally has flights to 200 cities worldwide, and handles mail and




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0         cargo shipments as well. Currently the facility is accommodating military flights, private

          aircraft, corporate and charter flights.


          The Youngstown Elser Metro Airport, located seven miles south of Youngstown, is a

          general aviation facility. The Youngstown Elser Metro Airport averages in excess of 342

          flights per day including air taxi and cargo flights. Flights originating from airfields

          within the United States can land at this airport.


          Airfields within a 100 mile radius, or approximately two hour drive from Summit

          County, Detroit Metropolitan Airport, located approximately 30 minutes north of Toledo,

          Ohio. This facility offers access to numerous international flights including Beijing,

          China. In 2003 the Detroit Metropolitan Airport accommodated 32,664,620 passengers

O         including 2,615,876 international passengers. This facility also accommodates inbound

          and outbound cargo, mail and transportation services. In 2002, more than 513,610,800

          pounds of cargo were shipped to and from the Detroit Metropolitan Airport. Through

          numerous investigations and intelligence information, Detroit, Michigan has shown to be

          a source city for the distribution of drugs, specifically cocaine into the Summit County,

          Ohio region.


          The Toledo Express Airport, located north of the City of Toledo, Ohio. Toledo Express

          is the 2nd largest cargo port in the Great Lakes region, 15th largest cargo port in the

          United States and 26th largest in the world. Toledo Express is also home to two major

          cargo airlines. This allows the shipment of packages worldwide. This facility currently

          has non -stop direct flights throughout the United States, Canada, Mexico, South America
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C         and Australia.


          The Port of Columbus International Airport, located southeast of the City of Columbus.

          This facility offers access to multiple international destinations. This

          facility also accommodates inbound and outbound cargo, mail and transportation

          services.


          Pittsburgh International Airport, located 16 miles from downtown Pittsburgh,

          Pennsylvania. The facility has a designated foreign trade zone designated for fuel and

          other industry. The facility averages 437 flights a day to 107 non -stop destinations

          throughout the United States and Canada. This facility also accommodates inbound and

          outbound cargo, mail and transportation services. In 2003, more than 209,847,600


C         pounds of freight was processed at this airport.

          Most commercial airlines provide inbound and outbound cargo transportation services.

          This is a key market factor in the parcel services since shipping expenses cost less

          than 75 percent than those charged by traditional shipping companies using airlines.

          This service offers one hour delivery services upon flight arrival.


          There are also numerous other airfields in northern Ohio that are located within close

          proximity to the Summit County, Ohio area. Small aircraft flights are practically

          unlimited when considering intrastate and interstate flights, as well as those occurring

          over the United States / Canadian Border.




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          2.   Land Threat
C         Highways:


          The greater Summit County,

          Ohio area is a crossroads

          connected to numerous drug

          source cities via the United

          States Interstate System. I -77

          starts in Cleveland, Ohio and

          runs south through Summit

          County, continuing through

          West Virginia, into North

C         Carolina and South Carolina.

          Interstate 80 originates at the

          Southern most tip of New York State. It enters Ohio and passes through Youngstown,

          continuing into Summit County, and merges with I -90 in Lorain County, through Toledo

          and continues to Northwest Ohio and on to Chicago, Illinois. I-90 connects to I -75 in

          Toledo. I -90 originates in Northern Michigan, runs through Detroit, southward to

          Toledo, Dayton and Cincinnati and continuing on into Florida. Interstate 90 originates in

          Boston, Massachusetts on the East Coast, traverses Upstate New York, and follows the

          Lake Erie shoreline from Buffalo, New York through Erie, Pennsylvania and into

          Cleveland, connecting to I-77 and merging with I -80 west of Cleveland, continuing

          through Chicago and on to the West Coast. Interstate 76 splits with I-70 in the

0         Pittsburgh, Pennsylvania region to the east, then enters Ohio near Youngstown, and



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C         continues west through Summit County, connecting to I -77 in Akron, and continuing

          west to connect to I-71 in Medina County just west of Summit County. I -71 originates

          in Cleveland and travels southwest through Columbus, connecting to I -70 and continuing

          southwest to Cincinnati and ends in Louisville, Kentucky.

          In 2002, 84 kilograms, or more than 180 pounds of cocaine with a street value in excess

          of two million dollars was seized in southern Summit County. This shipment was

          concealed in a trailer that had been retrofitted with specially designed hidden

          compartments. This shipment was transported via the Interstate Highway System from

          Los Angeles, California. The cocaine was intercepted before it could be distributed in the

          Summit County, Ohio area. The District 8 Criminal Patrol TAC Squad of the Ohio

          Highway Patrol is assigned to patrol the interstate roadways and areas where it is likely

C         that encounters with tourists from source cites will occur in or through the Greater

          Summit County, Ohio region. Since 9/11 and the subsequent heightened security

          measures, the District 8 Office of the Ohio Highway Patrol has observed an increase in

          narcotics interdictions along the highway interstate system. The Highway Patrol reports

          an increase in interdictions arrests of 36.89 percent from 2003 to 2004. The Highway

          Patrol's interdiction efforts have resulted in the seizure of illicit drugs to include

          400.5pounds of marijuana, 40.6 kilograms of Cocaine /Crack Cocaine, 1.7 kilograms of

          Heroin and 361 grams of Methamphetamine. These drugs with a street value in excess of

          5.3 million dollars were destined for markets in or in proximity to the greater Summit

          County, Ohio area.




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                                   Drug bust nabs 11, two from Stark

                 Two of the   11   men and women arrested in a multiple -agency drug investigation
                                      in Summit County are from Stark County

                                            The Repository, July 18, 2002



          Rail

          Amtrack services operating in Chicago, Illinois provides preliminary destinations to

          Toledo and Cleveland en route to the service's final destination in New York City.

          Amtrack services operating in

          Cincinnati provide one daily

          round trip to Cleveland.

          Cleveland Amtrack services offer

          two round trips to Columbus and

          Cincinnati.

          Cleveland Amtrack facilities also receive multiple arrivals from Newark, New Jersey. In

          a case conducted by the Summit County Drug Unit and the DEA, heroin trafficking

          suspects were routinely picked up from the Amtrack Facility in Cleveland, en route from

          the New York State area. These couriers were picked up by a member of the drug -

          trafficking organization from Summit County. The couriers were taken to locations in

          Cleveland where the drugs were secured and then distributed in the Cuyahoga and

          Summit County areas.


          BUS
0         Greyhound is one of the primary companies offering public transportation into and


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C        through Summit County and the Northeastern Ohio area.

         Greyhound offers

         transportation

          to Chicago, Illinois on

         days that Amtrack does

          not run. Greyhound

         coordinates

          transportation services

         with Amtrack. Passengers

         can arrive in Summit County from anywhere in the United States through various

          connections. There are also buses that depart and return from the Akron terminal daily

C        that run to Cleveland, Cincinnati, Pittsburgh, Pennsylvania, Washington, DC and

         Jacksonville, Florida. The greyhound terminal in Akron averages 550 passengers per day

          inbound and outbound. The Cleveland terminal has daily routes to Chicago, Illinois, New

          York, New York and Boston, Massachusetts. Greyhound also provides door-to -door

         cargo and package transportation at approximately one third the cost of Federal Express

          or United Parcel Service. In a Summit County Drug Unit Interdiction case, officers were

          able to track a currier from California carrying a shipment of cocaine into the Summit

         County area. The suspect was successfully interdicted and more than a kilogram of

         cocaine, destined for illicit markets in Summit County, was seized. In a large drug

          conspiracy case, the principals of the drug- trafficking organization utilized Greyhound

         cargo shipping to facilitate the smuggling of large amounts of crystal methamphetamine

O        into the northeastern, Ohio area including Summit County.



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          Mail Service


          Shipping companies have been identified as primary sources for commercial

          transportation of narcotics. At this time there does not appear to be any one shipper of

          choice, as all commercial shipping companies have been saturated with packaged illegal

          substances. Current trends and patterns indicate that the indicated shipping companies,

          (see below) all of which have terminals in Summit County, are utilized at random.

          Intended recipients of parcels containing illicit drugs generally do not accept a parcel if it

          is delivered more than one hour past its scheduled time of delivery.


          United Parcel Service (UPS) is the world's largest package distribution company utilizing

          364 domestic and 405 international airports to facilitate shipping services. The company

          transports more than 3.4 billion parcels annually, using more than 584 aircraft, 88,000

          vehicles and 1,748 facilities to provide service to more than 200 countries. The Summit

          County facility receives on average 22,000 parcels per day and ships out an average of

          20,700 parcels per day. Mail Boxes Etc. now known as UPS Stores is a subsidiary of

          the UPS Company. It is the largest franchisor of services related to the shipping industry

          as well as facilities allowing customers to establish local mailing addresses. The business

          operates over 4,000 independently owned locations worldwide, 3,200 of which are

          located within the United States. Thirteen of these stores are located in Summit County.

          A Summit County Drug Unit investigation found a suspect utilizing a Mail Boxes Etc.

          location in northern Summit County to ship packages of codeine from the Phoenix,


0         Arizona area into Summit County. In May 2005, the Akron Beacon Journal announced




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C         United Parcel Service's plans to acquire Overnight Corporation, a freight trucking

          company. This will allow UPS to compete with Federal Express for shipments of larger

          goods. According to the American Trucking Association, an industry trade group, 68

          percent of all freight in the United States is hauled by trucks. Overnite Corp. has a

          distribution center in Richfield, located in northern Summit County. This distribution

          center will continue to be operated by UPS.


          Federal Express is the world's largest express transportation company. It transports more
                                                                                                        0
          than two billion parcels annually, using more than 649 aircraft, 98,950 vehicles and 2,400

          facilities providing service in more than 210 countries. The Summit County facility

          receives on average 5,300 to 5,500 parcels per day and ships out an average 3,500 to

          4,500 parcels per day.


          DHL Worldwide (DHL) is the world's largest and most experienced international air

          express network with service to 120,000 destinations in more than 220 countries. DHL

          operates an unmatched global system of 118 hubs and 238 gateways. There are 250

          aircraft operating for, or on behalf of DHL. DHL operates more than 5,000 offices

          worldwide and provides service to every ZIP code in the United States. DHL offers next

          flight out service to more than 200 countries. Door-to -door services are available 24

          hours a day, 365 days a year for shipments of any size and weight. The Summit County

          DHL facility receives an average 6,500 parcels per day and ships an average of 3,000

          parcels per day.


          Since 2001, officers assigned to the Summit County Drug Unit and the Greater Akron

0         Drug Task Force have maintained interdiction operations with parcel distributors in



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          Summit County, including United Parcel Service, Federal Express, and DHL. These

          operations have resulted in the seizure of illegal drugs destined for illicit markets in and

          around Summit County including, 1,341 pounds of marijuana, 17.25 kilograms of

          cocaine/crack cocaine, 2.1 kilograms of methamphetamines, more than one ounce of

          asian heroin, and significant amounts of other dangerous drugs including anabolic

          steroids and schedule II pharmaceuticals. In all, these drugs have a combined street

          value in excess of 4.1 million dollars. Additionally, these seizures have initiated criminal

          drug-trafficking cases. An investigation conducted by the Summit County Drug Unit and

          the DEA resulted from the interdiction seizure of anabolic steroids intended for an illicit

          market in Summit County. The investigation revealed a drug -trafficking conspiracy

          involving the distribution of anabolic steroids, heroin and oxycontin from Southeast

          Asia, to California. The interdiction of crack cocaine and subsequent intelligence

          sharing led to an investigation and arrest by Texas Law Enforcement authorities of a

          suspect utilizing the parcel shipping services to distribute crack cocaine into the Summit

          County, Ohio area.. A multi -drug-trafficking organization conspiracy investigation

          conducted by the Summit County Drug Unit and the DEA revealed that several drug-

          trafficking   organizations
          operating in Ohio and                                   C,,..;!t
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          Arizona utilized parcel                                  .,          `_,.
          service delivery

          companies to facilitate the

          distribution of illicit drugs

c         through their networks. These



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C         organizations utilized parcel delivery services to distribute more than 200 pounds of

          crystal methamphetamine, 15 kilograms of ketamine, 2 kilograms of cocaine and

          200,000 or more doses of 3-4methylenedioxymathamphetamine (MDMA/Ecstasy).




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         3. Maritime Threat
C
          Summit County lies within 35 miles of the shores of Lake Erie; generally speaking, the

          geography of Ohio includes several attributes that facilitate maritime transportation in the

         region. Northern Ohio is located along the south shore of Lake Erie.




C
          Lake Erie is 241 miles long; the Ohio Lake Erie shoreline covers 146 miles. The lake is a

          mere 57 miles in width and encompasses 9,906 square miles of water. Lake Erie is part of

          the St. Lawrence Seaway system, which forms a prominent maritime gateway for

          economic trade in the U.S. and Canada. In addition, the northern Ohio area has nine

          major river tributaries that feed into Lake Erie providing commercial and private vessels

          unlimited access to Northern Ohio via the water.

          Within 35 miles of Summit County lies the Port of Cleveland and international seaport

          for economic trade. The Port of Cleveland processes more than     11   million tons of cargo

          annually. The port has a foreign trade office that includes the countries of Europe, Asia

          and East Southeast Asia. The Port of Cleveland receives approximately 1,110 foreign
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      vessels each year. More than 416,000 private watercrafts are registered in Ohio. Over

      28,000 are operated in Cuyahoga County, within 35 miles of Summit County. Across the

      shoreline of Lake Erie there are approximately 16,000 boat docks both public and private

      that list seven or more berths available. This excludes dockage with less that seven berths

      or docking at private residences. Northern Ohio's tourism industry relies on maritime

      activities, attracting three million people annually. Many of these individuals travel into

      and through the area by watercraft originating in Michigan, New York, Pennsylvania and

      Canada. As these activities increase, the Coast Guard is frequently tasked to engage in

      search and rescue operations, which allows the agency minimal opportunity to conduct

      maritime -based drug interdiction activities. With thousands of small maritime craft

      traversing Lake Erie and its tributaries on a daily basis, drug-trafficking organizations

      may easily transport illegal drugs and other contraband items between the United States

      and Canada with minimal odds of being encountered by maritime law enforcement

      officers.


      The United States Coast Guard, Ninth District in Cleveland, Ohio assess Lake Erie as a

      low to medium threat for maritime smuggling. The assessment is based on data

      determining less than one percent of the foreign vessel visiting the Port of Cleveland

      originate from source countries. While there have been no significant maritime seizures,

      the Ninth District Coast Guard Station reported that illicit drugs were seized off the shore

      of Ashtabula County in northeast Ohio from a Canadian National on -board a commercial

      vessel of Canadian registry. Additionally, the Coast Guard reported that they receive a

      steady stream of intelligence regarding the smuggling of `BC" Marijuana and MDMA

      from Canada into the United States. The Coast Guard further reported that a survey



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c         indicated that there is currently no active law enforcement interdiction operations

          targeting maritime smuggling activities along the shoreline communities of Lake Erie. It

          is also significant to note that only one percent of in -bound containerized cargo destined

          for the Ohio ports is inspected. This allows a substantial amount of un- inspected

          containerized cargo to enter the state which increases the drug threat, as well as the

          terrorism threat to the northeastern area of Ohio.




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          B. Demographics/Cultural Diversity


          The northern Ohio area has long been a center for legal immigration, a trend that

          continues to the present day. According to the Center for Immigration Studies, the

          percent of foreign -born legal immigrants in Ohio increased nearly 10 percent between

          1990 and 2000. The majority of legal immigrants are of ethnic Arabic, Asian, Dominican,

          Eastern European, Jamaican, Mexican and Russian decent. These groups generally locate

          into old city neighborhoods in metropolitan areas. Accompanying high levels of legal

          migrant immigrants are illegal aliens who have also settled within each of these diverse

          neighborhoods.


          The United States Census Bureau reported for 2000 that Summit County had a foreign


C         born population of 17, 729. Additionally, the foreign born population for the surrounding

          counties are as follows: Stark County 6,674; Portage County 3,043; Medina County

          4,550; and Cuyahoga County 88,761.


          The United States Citizenship and Immigration Services reported that during the 2003

          fiscal year, 543 individuals were granted Legal Permanent Residence in the Akron,

          Summit County, Ohio area. The represented countries of origin included but were not

          limited to; Argentina, Burma, Canada, China, Guatemala, India, Mexico, Philippines,

          Russia, United Kingdom and Vietnam. Interestingly, it is noted that of those given

          Citizenship, 364 or 67 percent had no occupation.

          Additionally, the United States Department of Homeland Security, Office of Immigration

          Statistics reports that in 2004 there were 225,887 nonimmigrant admissions into the

C         State of Ohio. A large percentage of these individuals fail to leave the United States when



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C         their Visa expire and become "lost in the crowd". Illegal aliens have been

          arrested subsequent to narcotics investigations in and about the greater Summit County

          area. Their countries of origin include, but are not limited to Mexico, Canada, Israel,

          Thailand, El Salvador, Vietnam and the Dominican Republic.


          The United States Census Bureau reports the racial composition of Summit County, Ohio

          per the 2000 census as follows: white persons 453,336 (83.5 percent); black or African

          American persons 71,608 (13.2 percent); American Indian and Alaska native persons

          1,086 (less than   1   percent); Asian persons 7,641 (1.4 percent); Native Hawaiian and other

          Pacific Islanders 100 (less than i percent); Hispanic or Latino 4,781 (less than   1



          percent) and 9,128 persons reporting other or two or more races (1.7 percent).


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C         C. Economics


          Formally known as the "Rubber Capital of the World", the Summit County area

         pioneered the rubber industry. In recent decades the local industry has given way to low

         cost labor markets of Mexico and Asia. In its place has emerged new cutting-edged

          applications in polymers, a much more lucrative venture than its predecessor. Summit

          County has become a world dominator in polymer science and engineering. The

          University of Akron is the only college of its kind in the world dedicated to this growing,

         innovative field. Today, over 400 polymer and plastics companies employ more than

          30,000 workers in the Greater Summit / Stark County area. It is the largest concentration

          of polymer activity in the world. As a result, Summit County is fast becoming a major

          player in the global economic marketplace.
O
         Foreign Trade Zone #181 operated by the Summit County Port Authority (SCPA)

          currently encompasses more than 200 acres in Summit County. They include 160

          acres at the Akron/Canton Regional Airport, 30 acres in Cuyahoga Falls and 13 acres in

          Mogadore. The SCPA describes a foreign trade zone as an island in the sea of

          international commerce. It is considered to be outside of the United States. The Summit

          County Port Authority provides a number of benefits to companies taking advantage of

          this foreign trade zone, including tax benefits and relaxation of certain Customs rules.


          Currently the unemployment rate for Summit County is 6.6 percent. Summit County

         ranks 58`h of Ohio's 88 counties.


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C        The United States Census Bureau's 2000 census information indicates that the median

          income for a household in the county is $42,304 and the median income for a family is

          $52,200. The per capita income for the county is $22,842, 9.90% of the population and

          7.50% of families are below the poverty line.


          The American Community Survey of 2003, provides Summit County employment by

          industry as follows:

          Construction                                                 6 %



          Manufacturing                                                16 %



          Wholesale Trade                                              5 %



          Retail Trade                                                 11 %



          Transportation, warehousing, utilities                       6%



          Information                                                  2%


          Finance, insurance, real estate, rental/leasing              7 %



          Professional and business services                           9%



          Educational, health and social services                      20 %


          Leisure and hospitality                                      9 %




0         Other services (except public administration)                5 %




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      Public administration                                    4 %



      According to the United States Department of Agriculture, in 2002 there were 377 farms

      in Summit County encompassing 21,117 acres of land. The average farm constituted 56

      acres of land. In 2003 the Ohio Department of Agriculture reported the number of farms

      in Summit County as 370, encompassing 20,000 acres. The average farm consisted of 54

      acres. This represents a decline in the number of farms and acreage farmed of

      approximately 1.01 percent. Agricultural areas are giving way to the urbanization of

      Summit County, and the needs of a rising population. Current projected population

      studies by the Ohio Department of Development, Office of Strategic Research suggest

      increases in Summit County's population to 557,659 in 2010, 564,806 in 2020 and

      565,932 in 2025.


      While Summit County's socioeconomic indicators would suggest a strong and healthy

      community with educational, recreational and cultural opportunities, it is important to

      note that hidden within are deep pockets of social and economic need. These areas of

      high poverty tend to be concentrated in the central part of Akron. Other high poverty

      areas can also be found scattered through Barberton, Cuyahoga Falls and Twinsburg

      Township. These areas of high poverty most directly affect the African-American

      population of the county. Historically these areas are exploited and preyed upon by

      violent street gangs as a base for their drug-trafficking activities. In 2002 the Summit

      County Drug Unit and the FBI collaborated on a crack cocaine distribution investigation

      targeting the "Kakia Klan Outlaws" an East Akron street gang. During the investigation

      an undercover agent purchased crack cocaine from numerous gang members. Twice



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C         during the operation, gang members attempted to rob the agent at gunpoint. In the

          aftermath of the investigation, sixty -one members and affiliates of the gang were arrested

          including the reputed leader of the gang. In another investigation targeting drug -

          trafficking in low income housing areas throughout Summit County, a group from

          Columbus, Ohio was discovered transporting and distributing large amounts of crack

          cocaine into the project areas of Summit County.




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          D. Global Influences:


          Ohio has a unique relationship with its northern neighbor Canada. Ohio is Canada's most

          important U.S. trade partner, with annual commerce revenues exceeding $18 billion.

          Akron (Summit County) is the fastest growing source of exports, while the Cleveland

          area is the state's largest exporter to Canada. While there are obvious economical benefits

          to both Ohio and Canada via this arrangement, there are also negative factors that exist.

          The volume of tourist travel and commerce activity presents numerous opportunities for

          the transport and distribution of illicit cargo, including narcotics into the northern Ohio

          area, including Summit County. Recent investigations by the Summit County Drug Unit

          have identified Asian Organized Crime groups and the Hell's Angels outlaw motorcycle

          gang members distributing MDMA (Ecstasy) from Canada into the Northern Ohio area.

          These illicit drug markets include Summit, Cuyahoga, Medina, Mahoning and Franklin

          Counties, as well as drug markets in New York, New York, Boston, Massachusetts,

          Pittsburgh, Pennsylvania and Indianapolis, Indiana. Canada has also been identified in

          Summit County Drug Unit cases as a source of supply of Canadian grown marijuana,

          smuggled into the Summit County, Ohio area for distribution.


          The North Atlantic Free Trade Agreement (NAFTA) legislation that opened up trade

          between the U.S. had a similar impact on drug trafficking as in the current relations

          between the U.S. and Mexico. Many of the products shipped to the United States from

          Mexico are destined for the Midwest, including Northern Ohio and Summit County. The

          volume of this shipping provides for further opportunities in the smuggling and


0         distribution of illicit drugs. The Summit County Drug Unit has identified individuals




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C        known to be associated with Mexican Organized Crime in a large scale drug distribution

         conspiracy. This organization distributed, both directly and through local drug trafficking

          organizations large amounts of crystal methamphetamine, marijuana, cocaine, and black

          tar heroin into the Summit County, Ohio area, as well as other areas of Ohio, Illinois and

          Kentucky. Distribution cell sites were identified in West Central Ohio, Northern

          Kentucky and the Greater Atlanta, Georgia. area. Distribution links to the Latin Kings

         Gang organization in Chicago, Illinois were also uncovered.


          Additionally, investigations conducted by the Summit County Drug Unit have revealed

          sources of supply to include Thailand, where anabolic steroids, pharmaceutical pain

         medications and heroin were being smuggled to a distributor in California and shipped

          to illicit markets to include Summit County, Ohio. A key figure in a poly -drug

0         distribution organization traveled to Spain in an attempt to establish an MDMA (Ecstasy)

          source of supply. Nigerian nationals were identified body carrying heroin into New

          York and then on into Cuyahoga County, where the drugs were packaged and

          distributed in Cuyahoga and Summit Counties.


          Aside from these global links between the United States and our international

          counterparts to the north and south, the Northern Ohio (Summit County) area is

          strategically located between two very large urban centers known for their high levels of

          drug trafficking activities. Chicago, Illinois and New York, New York. This strategic

          advantage allows traffickers and their organizations to transport quantities of narcotics

          via a well developed interstate highway systems, or through the Great Lakes. In a recent


0         Title III investigation conducted by the Federal Bureau of Investigation and the Summit




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      County Drug Unit, a Jamaican Organization distributing cocaine and marijuana from

      NewYork, New York into the Summit County, Ohio area was dismantled.




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      D. Global Influences:


      Ohio has a unique relationship with its northern neighbor Canada. Ohio is Canada's most

      important U.S. trade partner, with annual commerce revenues exceeding $18 billion.

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      area is the state's largest exporter to Canada. While there are obvious economical benefits

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      Pittsburgh, Pennsylvania and Indianapolis, Indiana. Canada has also been identified in

      Summit County Drug Unit cases as a source of supply of Canadian grown marijuana,

      smuggled into the Summit County, Ohio area for distribution.


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      between the U.S. had a similar impact on drug trafficking as in the current relations

      between the U.S. and Mexico. Many of the products shipped to the United States from

      Mexico are destined for the Midwest, including Northern Ohio and Summit County. The

      volume of this shipping provides for further opportunities in the smuggling and

      distribution of illicit drugs. The Summit County Drug Unit has identified individuals




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C         known to be associated with Mexican Organized Crime in a large scale drug distribution

          conspiracy. This organization distributed, both directly and through local drug trafficking

          organizations large amounts of crystal methamphetamine, marijuana, cocaine, and black

          tar heroin into the Summit County, Ohio area, as well as other areas of Ohio, Illinois and

          Kentucky. Distribution cell sites were identified in West Central Ohio, Northern

          Kentucky and the Greater Atlanta, Georgia. area. Distribution links to the Latin Kings

          Gang organization in Chicago, Illinois were also uncovered.


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          sources of supply to include Thailand, where anabolic steroids, pharmaceutical pain

          medications and heroin were being smuggled to a distributor in California and shipped

          to illicit markets to include Summit County, Ohio. A key figure in a poly -drug

          distribution organization traveled to Spain in an attempt to establish an MDMA (Ecstasy)

          source of supply. Nigerian nationals were identified body carrying heroin into New

          York and then on into Cuyahoga County, where the drugs were packaged and

          distributed in Cuyahoga and Summit Counties.


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          drug trafficking activities. Chicago, Illinois and New York, New York. This strategic

          advantage allows traffickers and their organizations to transport quantities of narcotics

          via a well developed interstate highway systems, or through the Great Lakes. In a recent


0         Title III investigation conducted by the Federal Bureau of Investigation and the Summit




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C         County Drug Unit, a Jamaican Organization distributing cocaine and marijuana from

          NewYork, New York into the Summit County, Ohio area was dismantled.

          III    Drug Threats :

          Overall Scope of Drug Threats to Summit County.


          The distribution and abuse of cocaine, heroin, methamphetamine and marijuana

          represent the major drug threats to Summit County, Ohio. Other dangerous drugs

          including MDMA (Ecstasy), GHB and diverted pharmaceuticals such as

          Oxycontin and Vicodin are also available and abused.


          Most of the cocaine, heroin, MDMA and marijuana available in Summit County, are

          transported from Mexico, Canada, Arizona, California, Michigan, Texas and New York

          via private and commercial vehicles, couriers aboard commercial aircraft and package /

          parcel delivery services.

          Criminal groups identified through investigations in Summit County and northeast Ohio

          with direct influences to the transportation and distribution of illicit drugs include, but are

          not limited to; Mexican Organized Crime and Drug Trafficking Organizations based in

          the southwestern United States, Georgia and Illinois and Dominican Drug Trafficking

          Organizations based in New York. Also, various street gangs with connections to larger

          organizations including the Crips and Bloods, Latin Kings, and local independent

          methamphetamine and marijuana producers throughout the area.




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C
                                           Threat Level Definitions

              Very High. Demonstrated significant level drug activity based on intelligence

              and/or regular sizeable seizures. Traffickers display a high level of organization.

              High. Demonstrated high level of drug activity based on intelligence and/or

              occasional sizeable seizures. Traffickers display a moderate level of organization.

              Moderate. Demonstrated moderate level of drug activity based on intelligence

              and/or infrequent sizeable seizures. Traffickers have a moderate level of

              organization.

              Low. Demonstrated negligible level of drug activity based on intelligence and/or

              infrequent seizures. Traffickers are unorganized.

C
          Cocaine / Crack

            A. Level of Threat: ( Very High )

             Powdered and crack cocaine demonstrate stable

             low costs, highly addictive properties

            and widespread socio- ethnic and

            economic use throughout Summit

            County.


            B. Availability:

            Powdered and crack cocaine is available for

0           purchase in Summit County from grams



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C            to multi -ounce to quarter, half and kilogram quantities. Since 2001 the Summit

             County Drug Unit has seized more than 105,675 grams or 232.76 pounds of

             powdered and crack cocaine, with a street value in excess of $10.5 million dollars.

             Twenty -five percent of all Summit County Drug Unit arrests are related to powdered

             and crack cocaine.

             In a 2004 report by the Ohio Substance Abuse Monitoring Network, respondents to

             survey questions indicated that crack is available "everywhere" and that "Akron is a

             crack town." The Summit County Drug Unit is currently involved in investigations

             targeting crack cocaine trafficking in low income housing area in and about Summit

             County. Undercover crack cocaine purchases ranging from $20.00 "rocks" to

             ounce quantities have been made. The Summit County Drug Unit and the Greater

             Akron Drug Task Force have targeted multi -kilogram traffickers operating in Summit
C            County. These are Organized Crime Drug Enforcement Task Force (OCDEFT)

             quality cases with Regional Priority Organizational Targets (RPOT).



                                  15   charged in      -
                                               9 month drug probe
                     Summit County cracks down on cocaine trafficking in public housing

                 A nine-month undercover investigation by the Summit County Drug Unit targeting
                traffickers in area public housing communities ended this week with the arrest of 15
                                                       people
                   Authorities also say they seized more than $72,000 worth of crack cocaine, two
                                          handguns and about $10,000 in cash


                                       Akron Beacon Journal October 19, 2001




             The 2004 Annual Report of the Summit County Medical Examiner's Office, indicates
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C           that in 425 autopsies, representing seventy six percent of the Medical Examiner's

            cases, where toxicology tests indicated the presence of drugs, cocaine was found to be

            the most common drug found that was not necessarily the cause of death and was the

            most common drug found in cases where drugs were determined to be the cause of

            death.


             C. Associated Crime and Violence:

             Cocaine, particularly, crack is the drug most often associated with violent crime in the

            State of Ohio. According to the 2003 National Drug Threat Assessment 60.5 percent

            of law enforcement agencies in Ohio reported that crack cocaine was the greatest

            contributor to violent crime in their jurisdictions. Crack abusers often commit both

             violent and non -violent crime to support their habits and crack distributors

O           commonly commit violent crimes to protect their market territory. Two Akron

            cocaine dealers purchased a kilogram of cocaine from gang members in Youngstown.

            The cocaine was paid for with counterfeit currency. In retaliation the gang members

             traveled to Akron, kidnapped the dealers and took them back to the Youngstown area,

             where they were bound and executed.


            D. Production:

            Coca is not cultivated nor is cocaine produced in Summit County. Cocaine is

            produced in South America, primarily Columbia. However, the conversion of

             powdered cocaine into base (crack) does occur in Summit County on an as- needed

            basis for retail distribution. Crack conversion frequently occurs as close to the retail

            distribution level as possible in order to avoid severe legal penalties associated with
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             crack. Investigations conducted by the Summit County Drug Unit have revealed that

             retail dealers will process cocaine into crack in an "on- order" basis from consumers.


             E. Transportation:

             Powdered cocaine and to a lesser extent crack is transported into and through Summit

             County via personal and commercial vehicle traffic, by couriers on personal and

             commercial aircraft and by parcel delivery services. Summit County Drug Unit

             investigations have revealed cocaine shipments transported from Phoenix, Arizona,

             Los Angeles, California, Miami, Florida and Detroit, Michigan by vehicle utilizing

             the United States Highway System. Investigations have shown curriers, body

             carrying, and/or secreting cocaine in luggage utilizing airlines services, and the

             Akron/Canton Regional Airport to bring cocaine directly into Summit County.

             Officers assigned to the Summit County Drug Unit's Interdiction Unit have seized

             17.25 kilograms or 37.9 pounds of powdered and crack cocaine shipped into the

             Summit County, Ohio area via parcel services. Source cities include Los Angeles,

             California, San Diego, California and McAllen, Texas.




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C
                                     Police make record drug bust
                On Monday, the Summit County Sheriff's office and the Franklin Township police
               displayed a table heaped with 84 kilos of packaged cocaine taken Sunday from a 2003
                           Ford truck parked at Knack's Citgo at 5655 Manchester Road.

               Police said it was the record cocaine seizure in Summit County, far more than the 20
                                   kilo record, and probably one of Ohio's biggest.

              Police said the drugs came from the west coast and that no money or guns were found.


                                     Akron Beacon Journal, December 31, 2002




0            F. Distribution:


             Dominican and Mexican Drug Trafficking Organizations represent the principal

            wholesale distributors of powdered and crack cocaine in the Summit County, Ohio

             area. The drugs are further distributed to local drug trafficking organizations

             including street gangs for distribution. Investigations conducted in Summit County

             have revealed cocaine distribution by Drug Trafficking Organizations including

             Mexican, Jamaican Dominican, Columbian, Crips and Bloods. In 2004 law

            enforcement in Akron, Ohio found members of the V -NOTS street gang obtaining

             cocaine from Jamaican sources in the State of Florida. In one incident gang member

             couriers were found with approximately two pounds of cocaine concealed via

             ingested balloons.

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                                      Four Charged with Trafficking
                                                Bedford Heights
                        Summit County sheriff's detectives yesterday arrested four Cleveland
                        men who are accused of dealing crack cocaine in Macedonia and other
                                      northern Summit County Communities

                                            Cleveland Plain Dealer Sept. 6, 2001




             Heroin

             A. Level of Threat ( High )


             Heroin's local availability,

             highly addictive properties

             and low cost combine to

             make it a high level threat

             to Summit County, Ohio.


             B. Availability:

             The availability and abuse of heroin poses a significant threat to Summit County. All

             types of heroin are available in Summit County including Mexican brown and black


0            tar and Asian white.




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            The Ohio Substance Abuse Monitoring Network's 2004 survey indicated that heroin

            was available throughout Summit County, with new addicts emerging as a result of

            the high cost of Oxycontin. The Greater Akron Drug Task Force indicated that heroin

             cases have been on the increase in the greater Akron area. In march of 2005 a subject

            booked into the Summit County Jail was found to have concealed in his rectum two

            balloons containing approximately one ounce of Mexican brown heroin.


             C. Associated Crime and Violence:

             Heroin users in Summit County are generally not associated with violent criminal

             acts; however, the physiological and psychological need to abuse the drug causes

            many addicts to commit criminal offenses such as prostitution, drug distribution,

             theft and robbery. Offenses such as theft are often perpetrated against family

            members. Investigations conducted in Summit County have shown that most retail

            dealers of heroin are in fact themselves addicts utilizing retail sales to obtain funds to

             support their habits.

            D. Production:

            There are no known instances of heroin production in Summit County. Heroin

             available in Summit County is produced from opium cultivated primarily in four

            source regions: South America, Southeast Asia, Southwest Asia and Mexico.


             E. Transportation:

            Investigations show that heroin is transported into the Summit County, Ohio area by

            private and commercial vehicles, couriers using airline services, and parcel / package

            delivery services. The main source for the heroin in Summit County is Cleveland,
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C            Ohio. Local retail dealers travel every few days via the United States Highway

             System to Cleveland, to obtain up to ounce quantities of heroin from mid -level

             suppliers. Investigations have also revealed heroin sources to include Arizona and

             New York. The Ohio Highway Patrol reports that in 2004, Interdiction Team

             Troopers seized more than three fourths of a kilogram of heroin on the highway

             system in and about Summit County. Officers assigned to the Summit County Drug

             Unit's Interdiction team have seized heroin shipments from parcel / package delivery

             services destined for Summit County markets.


             F. Distribution


             Mexican Drug Trafficking Organizations are the primary transporters and distributors


0            of Mexican Black Tar, and brown powdered heroin into Ohio, where it is obtained by

             mid -level distributors and passed on to local low level distributors for street sales and

             consumption. In a Summit County Drug Unit case individuals associated with

             Mexican Organized Crime attempted to set up a Black Tar distribution hub in

             northeast Ohio. More than 100 grams of Black Tar heroin was seized in this

             operation. At this time intelligence indicates that this organization has abandoned its

             plans to set up a distribution hub in this area.

             Dominicans criminal groups are the primary transporters of South American heroin

             into northeastern, Ohio. These groups utilize the United States Highway system to

             transport the drug from the eastern seaboard, mostly New York into the Cleveland,

             Ohio area where it is further disseminated.

             Asian and Nigerian criminal groups transport Asian heroin into northeastern Ohio. In
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C           a case conducted by The Drug Enforcement Administration (DEA) and the Summit

            County Drug Unit a heroin trafficking conspiracy by Nigerian nationals was

            dismantled. Nigerian nationals were smuggling Asian heroin into the United States

            via swallowing heroin filled balloons and entering at New York. The couriers would

            then travel to the Cleveland, Ohio area via Amtrack, where they were met by

            distributors from the Akron, Summit County, Ohio area. The couriers were taken to

            various safe-houses throughout the area were they would be relieved of their cargo.


            Methamphetamine


            A. Level of Threat: ( Very High )

            Powdered and crystal (Ice) methamphetamine,

            combined with the relative ease of
C           local manufacture, its highly addictive

            properties, and increased use make it a very

            high level threat in Summit County, Ohio.


            B. Availability:                                           ,


            Powdered and crystal (Ice) methamphetamine is         uw           .   '        .s
                                                                           .           ,'
            available throughout Summit

            County. It can be obtained in amounts anywhere

            from grams to multi -ounce quantities. A recent Summit County Drug Unit case

            revealed a local drug trafficking organization to be distributing pound to multi -

            kilogram quantities of Mexican Organized Crime manufactured crystal

0           methamphetamine. Conservative estimates indicate that this organization imported



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C           and distributed more that 200 pounds of crystal methamphetamine. The 2004 report

             of the Ohio Substance Abuse Monitoring Network indicated that focus groups

            containing users, providers and law enforcement reported a growing concern that a

             serious methamphetamine problem is emerging in the greater Summit County, Ohio

             area. Methamphetamine use and production encompass approximately 19 percent of

             all Summit County Drug Unit arrests.


             C. Associated Crime and Violence:

            The potential for violence associated with methamphetamine production, distribution

             and abuse is significant. Individuals addicted to methamphetamine are unpredictable

             in their behavior. Methamphetamine abusers are often paranoid and delusional and

             frequently arm themselves against perceived threats. In a recent production site
C            seizure, Summit County Drug Unit Methamphetamine Clandestine Laboratory

             Response Team members found a cache of weapons including two AK -47 assault

            rifles. In another clan lab site, officers encountered weapons placed strategically near

             doors and windows including semi -automatic handguns, as well as an M -16 and AK-

            47 assault rifles. As a result of the abusers violent, delusional and paranoid behavior

             numerous clan lab sites throughout Summit County have been located as a result of

             local law enforcement officers answering domestic violence calls. Clan lab operators

             routinely subject and endanger children to chemical exposure and related conditions.

             During a recent Summit County Drug Unit investigation, on several occasions

             members of a drug trafficking organization distributing crystal methamphetamine

             solicited for the murder of individuals perceived as a threat to the organization.
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C           D. Production:

            There has been an increasing concern about the growing threat of methamphetamine

            production and trafficking both nationally and within the Summit County, Ohio area.

            Nationally the methamphetamine market has spread from the southwestern states

            throughout the mid -west and eastward. The larger methamphetamine production

             centers, known as "super labs" are primarily operated by Mexican Drug Trafficking

             Organizations. Investigations in Summit County have shown that crystal

            methamphetamine has been produced and distributed into Summit County and

            northeastern Ohio from Mexican drug labs operated in Mexico and the State of

             Georgia. Additionally an investigation in neighboring Stark County revealed the

             diversion of pseudoephedrine products through small convenient store retailers,

c           which was then distributed to Mexican Organized Crime groups. The

            pseudoephedrine was utilized to produce methamphetamine in Mexican run labs and

            returned to the area for distribution. Crystal methamphetamine from Mexican

             controlled labs seized in Summit County has shown in quantitative analysis to be 98

             percent and above in purity.

            Local production by individual small clandestine laboratories continues to increase in

             Summit County. These "mom and pop" production sites utilize the ephedrine /

            pseudoephedrine reduction method, to produce an easily manufactured, potent form

             of methamphetamine. The seizure of these lab sites has doubled in Summit County

             for the past three years. In 2004, 126 methamphetamine sites were seized by Summit

            County Clandestine Laboratory Response Team members, this equates to one quarter

0            of the total sites seized in the State of Ohio. Summit County has and continues to lead



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C           the State of Ohio in the seizure of methamphetamine production sites.


                                   Resident faces "meth" charge
                      A Cuyahoga Falls woman was one of nine arrested January 5 by the
                         Summit County Sheriff s department during a bust of three
                                      methamphetamine labs in Akron

                                 Cuyahoga Falls News Press January 11, 2004


             Clandestine Laboratory seizures in Summit County reveal the following methods of

             methamphetamine production.


             Iodine / Red Phosphorus: The principal chemicals are ephedrine or pseudoephedrine,

             iodine and red phosphorus. The required hydriodic acid in this variation of the

             hydriodic acid/red phosphorus method is produced by the reaction of iodine in water

             with red phosphorus. This method yields high quality d- methamphetamine and

             typically is used when hydriodic acid supplies are limited.


             Birch: The principal chemicals are ephedrine or pseudoephedrine, anhydrous

             ammonia and sodium or lithium metal. Also known as the Nazi method, the Birch

             method typically yields ounce quantities of high quality d- methamphetamine.




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0         SUMMIT COUNTY METHAMPHETAMINE SEIZURE SITES


                       Legend
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                         e   2003
                             2002

                             2001




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             Currently in Summit County lab operators are utilizing the iodine / red phosphorus

             method. Birch type labs have been limited. In Summit County, eight labs have been
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C           found as a result of explosion and fire, several labs have also demonstrated the

            presence of phosphene gas. Phosphene gas is lethal at levels as low as fifty parts per

            million. These production sites also leave behind hazardous waste contamination and

            are often found in hotels, motels and rental properties threatening the health of

            innocent citizens, law enforcement and other safety service personnel.


                        Six officers overcome by fumes at drug lab
                               Domestic violence call turns into meth arrest

              Six area police officers were treated after inhaling toxic fumes Thursday when a
               man was arrested on a charge of operating a methamphetamine laboratory in a
                                              mobile home park.

                                  Akron Beacon Journal, January 22, 2005




             E. Transportation:

             Investigations indicate that methamphetamine is transported into and through Summit

             County via personal and commercial vehicle traffic utilizing the United States

             Highway System. Clandestine Laboratories known as "box labs" are transported in

             vehicles throughout Summit County. These labs and their component chemicals pose

0            a threat to citizens and safety personnel. Couriers utilizing body carry and luggage



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C           import methamphetamine into Summit County via airlines. Summit County

            Interdiction officers have seized more than a kilogram of methamphetamine shipped

             into Summit County by parcel / package services.



            F. Distribution

            Mexican Drug Trafficking Organizations and to a lesser extent Outlaw Motorcycle

            Gangs represent the principal wholesale distributors of foreign produced powdered

             and crystal methamphetamine into Summit County. In a Summit County investigation

            more than two pounds of methamphetamine was seized from a Hell's Angels stash

            house in Springfield Township. Additionally, rising numbers of low to mid -level

            clandestine methamphetamine production labs supply local abusers. These labs are

            typically producing one to three ounces of methamphetamine per "cook'.



             Marijuana:

            A. Level of Threat:      (   Very High   )


            The prevalence of marijuana and          I


             the continuing high demand for

            the drug underlie its stability as

            one of the foremost drug threats

            to the Summit County, Ohio

            area.

            B. Availability:

0           Marijuana is the most frequently encountered drug of abuse by Summit County Law



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C           Enforcement Officers. Marijuana including locally produced, hydroponic, Mexican

            and Canadian ("BC") can be purchased in quantities from "dime" bags to multi -

            pound bundles throughout Summit County. The distribution and abuse of marijuana

            in Summit County stretches across all socio- economic and ethnic classes and age

            groups. School children have been found in possession of marijuana. Since 2001 the

            Summit County Drug Unit has seized more than 1,200 pounds of marijuana, with a

             street value in excess of $1.6 million dollars. Additionally, indoor hydroponic grows,

            and outdoor cultivation plots have been seized along with more than 1,100 plants with

             a street value in excess   of $1.1 million dollars. Historically, investigations in Summit

            County have also led to the seizure of several marijuana shipments in excess of 500

            pounds each. Summit County Drug Unit statistics indicate that marijuana related

C           arrests account for approximately 50 percent of the units total arrests.



                                        Akron men face drug charges
                          Summit County authorities seize 350 pounds of marijuana
                          after one arrest in Green leads to another suspect in Akron

                                         Akron Beacon Journal, April 15, 2004




            C. Associated Crime and Violence:

            Marijuana abuse is typically not associated with violent behavior; however, the threat

            of violence exists to protect grow sites or stash houses. In a Summit County

            investigation, during the execution of a search warrant of a hydroponic indoor grow,

            officers seized a weapons cache, including an operating fully automatic machine gun.

0           In Akron, a marijuana dealer was shot and killed by a robber attempting to obtain



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            drugs and or United States Currency.


            D. Production:

             Summit County Drug Unit investigations have revealed that most of the marijuana in

            the Summit County area is produced in Mexico and brought in from the southwestern

            United States. Canadian BC marijuana is also available. Local growers are also

            responsible for commercial grade marijuana. Local growers utilizing hydroponic

            grows are introducing very high quality marijuana into the local markets. Hydroponic

            and Canadian marijuana command high prices. The Summit County Drug Unit has

            observed the price of Canadian BC marijuana to be as much as $3,200 dollars per

            pound. Commercial grade marijuana is currently priced around $1,200 to $1,500

            dollars per pound.
                                                     Hydroponics
                                      In a hydroponics operation, cannabis is not
                                      grown in soil; instead, growers use an inert
                                      growing medium to support the plant and
                                      its root system. Some popular media
                                     include rock wool, vermiculite, and clay
                                     pellets.

                                      In a Summit County / DEA investigation a
                                     local hydroponics equipment retailer would
                                     sell clients not only the necessary
                                     equipment for a hydroponic grow set -up
                                     but would also provide seedling marijuana
                                     plants




            E. Transportation:


0           Marijuana is transported into and throughout Summit County via private and




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             commercial vehicles utilizing the United States Highway System and connecting

             local state routes and roads. Marijuana has been seized from tractor -trailer rigs,

             where marijuana was concealed in large freight items, including washing machines,

             dryers and spa pools. Summit County Drug Unit interdiction officers routinely seize

             shipments of marijuana from parcel / package services. These have included seizures

             from one ounce quantities up to 65 pound shipments. Since 2001 Summit County

             interdiction officers have seized more than 1,300 pounds of marijuana from parcel /

             package delivery services. Summit County investigations also reveal marijuana is

             smuggled in luggage by couriers utilizing airline services.


             F. Distribution:

             Mexican Drug Trafficking Organizations represent the major wholesale distributors

             of marijuana in the Summit County, Ohio area. Additionally Summit County

             investigations have identified Jamaican, Dominican and Canadian criminal groups as

             wholesale distributors of the drug into Summit Country. Street gangs, local growers

             and hydroponics operators are also distributing marijuana throughout Summit

             County, although not on the same scale as the Mexican criminal organizations.


                                Officers arrest 13 on drug charges
                    Police accuse suspects of bringing marijuana to Akron- Canton area

                   Thirteen people were arrested yesterday in what police describe as a major
                           marijuana operation involving Ohio and three other states.

                     Police and FBI officials say those arrested were responsible for bringing
                   thousands of pounds of marijuana into the Akron area over the past several
                                                       years
                                        Akron Beacon Journal, June 7, 2001

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C
             MDMA

             A. Level of Threat:    (   High   )


             3, 4-methylendioxymethamphetamine/

             MDMA or (ecstasy) while found in

             Summit County, it has not shown to be as

             predominant as cocaine, heroin,

             methamphetamine, or marijuana.


             B. Availability:

             MDMA is available for purchase

             in Summit County in quantities from

C            individual unit doses to 100 - 1000. In a

             recently completed case, a multi -organizational conspiracy smuggled and distributed

             MDMA throughout Ohio and into Indiana, Massachusetts, Minnesota, Pennsylvania

             and New York. It is conservatively estimated that these criminal organizations

             distributed more that 200,000 MDMA tablets during their existence.


             C. Associated Crime and Violence:

             MDMA abuse and trafficking typically are not associated with property crime and

             violence; however, traffickers may act violently to protect their stashes. In a Summit

             County Drug Unit case a distributor from the Columbus, Ohio area was robbed by

             local low -level dealers of MDMA and United States Currency. In retaliation the

             distributor returned threatening members of the group with a handgun. In a recent




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C            Summit County Drug Unit case members of multi -drug conspiracy solicited, on

             several occasions for the murder of persons perceived as threatening to their

             organizations.


             D. Production:

             Most of the MDMA available in Summit County is produced in clandestine European

             laboratories. In 2005 Summit County Drug Unit Clan Lab Team members discovered

             and dismantled an MDMA production laboratory concealed in a storage facility in

             Akron. The operator of the lab was placing the powdered MDMA into capsules and

             using the interne to distribute the drugs.


             E. Transportation:


0            Summit County Drug Unit investigations have revealed that most MDMA brought

             into Summit County is done via private and commercial vehicle travel across the

             United States Highway System. Couriers have also used body carry methods to

             conceal and smuggle MDMA aboard aircraft.


             F. Distribution:

             The distribution of MDMA in Summit County is mostly associated with Caucasian

             males, in loosely organized groups. Large wholesale distributors have been identified

             by Summit County investigations to include Asian Organized Crime operating in

             Canada and Russian Organized Crime operating in the United States. In an alarming

             trend Summit County Law Enforcement is observing an increase in the distribution of

             MDMA by street gang members.

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C            Lysergic Acid Diethylamide (LSD)

             A. Level of Threat: ( Low      )


             While currently identified as a low threat to the

             Summit County, Ohio, area LSD's low cost,

             ease of concealment and powerful effects

             keep it poised to influence local illicit markets

             at any time.


             B. Availability:

             LSD is available for purchase in Summit County. Respondents to the Ohio Substance

             Abuse Monitoring Network 2004 survey report a fluctuation in the availability of

             LSD in the Summit County, Ohio area. Historically, purchases and seizures of LSD in
O            Summit County have ranged from single unit doses ("hits ") to bulk shipments of

             1000 or more dosage units.


             C. Associated Crime and Violence:

             LSD abuse and trafficking are typically not associated with property or violent crime.

             Abusers under the effect of the drug may become involved in bizarre episodes

             contrary to public safety. For example, at a northern Summit County concert venue, a

             naked man under the influence of LSD walked along a major roadway kicking over

             traffic cones placed by law enforcement officers. The man walked to a police

             cruiser and entered the back seat of the car. Law enforcement officers had to

             physically remove the man from the vehicle to place him under arrest.

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C            D. Production:

             Most LSD available for purchase in Summit County is prepared in illicit laboratories

             in northern California. LSD synthesis is a complex chemical procedure that requires

             the knowledge and skills of a competent chemist. In a Summit County investigation a

             high level distributor in northern California would mail large quantity shipments to a

             mid -level Summit County dealer who would distribute the drugs through a network of

             low -level dealers in the area.


             E. Transportation:

             Summit County investigations have revealed that LSD brought into the area is most

             often transported via personal vehicles utilizing the United States Highway System.

             Drugs concealed in letters, mailings and parcel packages transported by the United
C            States Postal Service and parcel / package delivery services.


             F. Distribution:

             Caucasian local independent distributors are the primary groups distributing LSD in

             and about Summit County. These distributors may form loose -net organizations of

             lower level dealers.


             Psilocybin Mushrooms

             A. Level of   Threat:   (   Moderate )

             The Ohio Substance Abuse

             Monitoring Network

             reports that survey
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         respondents

         reported that the

         availability of psilocybin

         mushrooms in Summit

         County is more

         consistent than that of LSD.


         B. Availability:

         Summit County Investigations have shown the availability of psilocybin mushrooms

         in the area. In 2004 officers seized more than a kilogram of the substance. The

         mushrooms are often found in association with patrons of the areas music venue. In

         May of 2005, interdiction officers seized more than a pound of mushrooms shipped

         into the Summit County area via parcel delivery service.


         C. Associated Crime and Violence:

         Psilocybin mushroom abuse and trafficking are typically not associated with property

         crime and violence in Summit County. Abusers under the influence of the drug may

         become involved in bizarre episodes contrary to public safety.


         D. Production:

         Psilocybin mushrooms are grown in rural southeastern, Ohio, as well as the

         Southeastern United States. A grow was seized in the University of Akron area by

         Summit County investigators. The grow consisted of mushrooms in various stages

         from spores in Petri dishes to fully developed fungus. Thousands of mushrooms were

         seized in this operation and the cultivator was arrested.



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C
             E. Transportation:

             Summit County investigations have revealed that most psilocybin mushrooms

             transported into the area are via personnel vehicles utilizing the United States

             Highway System and interconnecting roadways. Mushrooms are also packaged and

             shipped via parcel service providers. Mushrooms have been observed in Summit

             County, hidden "in plain view" as packing peanuts in parcel packages.


             F. Distribution:

             Distribution of psilocybin mushrooms is primarily through independent suppliers.



             Phencyclidine (PCP)

             A. Level of Threat: ( Low )

                                                                                         s-t-Sf.
             B. Availability
                                                                      f,t:
             While not readily observed in

             Summit County, PCP is currently

             available in Cleveland. Due to
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                                                                       e...',
             the geographic and street gang

             nexus of Cuyahoga County and

             Cleveland, PCP remains a threat to Summit County. The resident office of the DEA

             reports that the use of "wets" (cigarettes dipped in PCP) is increasing in the Cleveland

             area low income housing project areas.



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C            C. Associated Crime and Violence:

             Abusers under the influence of the drug have been observed in violent outbursts and

             episodes. They appear to have an aversion to pain and often injure themselves.

             Individuals may become agitated, delusional or irrational.


             D. Production:

             There have been no reported PCP production sites in the greater Summit County,

             Ohio area. Generally PCP production is controlled by street gangs and criminal

             groups operating in the Los Angeles, California area.


             E. Transportation:

             PCP is transported throughout the area via private and commercial vehicles utilizing

0            the United States Highway System, by couriers body carrying the drug on airline

             services and parcel / package delivery systems.


             F. Distribution:

             Distribution of PCP is primarily controlled by African American street gangs such as

             Crips and Bloods and criminal groups.



             Gamma -hydroxybutyrate (GHB)

             A. Level of Threat: ( Low    )




             B. Availability:

            GHB appears to be available in the Summit County, Ohio, although not widespread.

0           In a recent Summit County Drug Unit investigation, a large poly-drug trafficking



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             organization, comprised for the most part of homosexual men and women, GHB, as

             well as crystal methamphetamine and MDMA was smuggled and distributed

             throughout northeast Ohio.




                         Suspected "ringleader" nabbed in drug bust

                       Police say Akron man behind shipments of methamphetamine,
                                          ecstasy, GHB to area

                                      Akron Beacon Journal, April 15, 2005




             C. Associated Crime and Violence:

            While GHB is a powerful central nervous system depressant, that is used illegally for

             its euphoric and sedative effects, it is also known as the "date rape" drug for its use in

             the commission of drug-facilitated sexual assaults.


             D. Production:

             GHB is produced illegally in domestic and foreign laboratories. There have been no

             GHB production sites found in Summit County at this time.


             E. Transportation:

             GHB is transported in private and commercial vehicles utilizing the United States

             Highway System, body carried by couriers, aboard commercial airline services and


0            via parcel / package delivery services. In 2003 a Summit County man was arrested




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             following the controlled delivery of a gallon of GHB, by Summit County Law

             Enforcement authorities and agents of the United States Customs Service. The GHB

             was intercepted in a shipment originating in Canada.


             F. Distribution:

             Middle -class Caucasian males between eighteen to thirty years of age are the

             predominant distributors of GHB. It is often distributed at parties, nightclubs, bars

             and all night dances known as raves, which feature heart pounding techno -music and

             flashing laser lights.


             Pharmaceuticals

             A. Level of Threat:        (   Very High )



             The diversion of narcotics and pain

             analgesics in Summit County

             continues to increase. The drugs

             of choice include Oxycontin,

             Vicodin, Percocet, Morphine,

             Methadone, and Fentanyl.


             B. Availability:

             While there are no conclusive estimates as to the total amount of diverted prescription

             narcotics, depressants and stimulants available in the drug markets of Summit

             County, it is known that legitimate commercial dispersal of prescription

0            pharmaceuticals distributed to pharmacies, hospitals and practitioners has increased



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C            sharply over the past four years, thereby making more of the drugs available to

             criminal diversion and abuse.

             In a sampling of data from the Akron Police Departments Narcotics Unit, Diversion

             Division, during the first quarter of 2004 the unit investigated sixty new diversion

             cases, or one case every day and a half. Drugs diverted in that period from highest to

             lowest were Vicodin, Percocet, Oxycontin, Darvocet, and Methadone/Fentanyl. An

             alarming trend in Summit County deals with abusers breaking open Fentanyl patches

             and consuming the time release gel inside. In 2005, two overdoses have occurred in

             Summit County; one with fatal results. The 2004 Annual Report of the Summit

             County Medical Examiners Office indicates that in cases where toxicology screens

             indicate the presence of drugs in a body. The most commonly found drugs that were

             not the cause of death were, in ranking order; morphine, oxycodone (Oxycontin),

             methadone, hydrocodone (Dilaudid) and fentanyl. The report also indicates that in

             cases where toxicology screens indicate the cause of death was drug induced, the

             most commonly found drug were, in ranking order; methadone, morphine / fentanyl,

             oxycodone (Oxycontin) and hydrocodone (Dilaudid).


             C. Associated Crime and Violence:

             Criminal actions associated with pharmaceutical diversion in Summit County, include

             burglaries and robberies of drug stores. Several pharmacy robberies have occurred in

             Summit County, most notable was a man seeking Oxycontin. After taking several

             people in a Cuyahoga Falls store hostage, the man killed himself with an AK -47

             assault rifle after a lengthy stand -off with police. Thefts and forgeries of the drug
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         documents. Theft of the various pharmaceuticals themselves, from legitimate

         recipients and hospital or institution pharmacies. Summit County cases have included

         nurses and other practitioners taking pharmaceuticals from the pharmacies in the

         institutions they work. In another case, a nurse working in a home / hospice center

         stole a patients liquid morphine and replaced it with water.


         D. Production:

         Pharmaceuticals are not normally produced in Summit County, but are legitimately

         produced by medical companies and then diverted through criminal acts. It should be

         noted however, that illicitly produced Fentanyl was seized from two Kent State

         University students in the 1990's during the "Tango and Cash" scare when junkies

         were overdosing in an alarming rate along the eastern seaboard. The culprit in that

         case turned out to be illicitly produced Fentanyl that is thousands of more times

         potent than normal street distribution heroin.



         E. Transportation:

         Illegally obtained pharmaceuticals are transported throughout Summit County via

         private and commercial vehicles, body carried and packed into luggage aboard

         commercial airlines services and shipped via package / parcel services.



         F. Distribution:

         Distribution of diverted pharmaceuticals in Summit County, is primarily through the

         individuals involved in the diversion, or theft of the drugs. Pharmaceuticals are

         diverted in several ways.



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C
             Doctor Shopping: A common method of diverting prescription medications is by

             doctor shopping. Individuals who divert and acquire pharmaceuticals through doctor

             shopping do so by visiting numerous doctors in an attempt to obtain multiple

             prescriptions for the drugs. Doctor shoppers often falsify or exaggerate symptoms in

             order to obtain prescriptions. They will seek out doctors who they believe are more

             likely to grant prescriptions. These individuals typically have their prescriptions filled

             at numerous pharmacies to avoid detection.

             Prescription Fraud: Prescription fraud includes a variety of schemes commonly

             used to divert pharmaceutical drugs, such as forging or altering prescriptions,

             producing counterfeit prescriptions, and telephoning in fictitious prescriptions to

0            pharmacies, while purporting to be the issuing physician. In a Summit County case a

             group of Nigerian Nationals formulated and issued counterfeit prescriptions for

             Ritalin, alleged to have been issued by a doctor in Nigeria, Africa. One pharmacist

             filled the prescription before they were apprehended.

             Theft: Pharmaceuticals are diverted from pharmacies, distributors, manufactures,

             and individuals with legitimate prescriptions through theft of the drugs. It is common

             practice in Summit County for younger individuals to steal prescription drugs from

             their parents and grandparents. Numerous cases are also investigated involving

             practitioners who steal their patients medications, or take drugs from the pharmacies

             of the institutions where they are employed.

             Unscrupulous Physicians:      Illegal prescribing by unscrupulous physicians is a

0            significant source of diverted pharmaceuticals. Corrupt physicians create fraudulent



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C            prescriptions to obtain drugs for personal use, and they also write prescriptions for

             individuals without a legitimate need for the drug for a fee. Several physicians in the

             Summit County area have been investigated and charged with diverting

             pharmaceuticals. In one notable case, a doctor utilized more than twenty -five alias

             names to obtain Percodan for his personal use. The doctor was arrested again in 2003

             for more diversion violations.




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             IV.     Drug Trafficking Organizations and Activities


             A. Number of Identified Organizations:

             Local / Regional 52

             National            38

             International        6

             B. Profiles of Identified Organizations:

             A unique feature of the Drug Trafficking Organizations operating in the greater

             Summit County / Northeastern, Ohio area is that they are "full service" in nature.

             That is, many are involved in all facets of drug trafficking, to include transportation,

             distribution, in some cases manufacture and associated money laundering.


             It is important to note that although these organizations may not directly operate in

             Summit County, their influence is felt as mid -level distributors travel to nearby

             locations to deal with these sources of supply, including but not limited to Canton,

             Cleveland, Detroit, Medina and Youngstown.


             The major types of Drug Trafficking Organizations supplying and distributing illicit

             drugs to Summit County and the Northeast Ohio area include individuals of

             Dominican, Jamaican and Mexican descent.


             Dominican drug trafficking organizations operate in the Cleveland and Youngstown

             areas. They are primarily involved in the distribution of cocaine and heroin. They are

             associated with Columbians and travel to the New York area to obtain cocaine. The


0            drugs are normally concealed in vehicles and driven back into the Northeast Ohio




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             area via the Interstate Highway System. Summit County mid -level dealers obtain

             their drugs from the Dominicans by traveling to Cleveland or Youngstown.

             Dominicans tend to control the distribution of drugs to Dominican drug trafficking

             organizations controlling the distribution at the retail level.


             Jamaican drug trafficking organizations operate throughout Northeast Ohio. They

             are loosely associated and cooperative with locals when needed. They tend to have no

             established lines of hierarchy or authority. They have been found to be operating in

             the Akron, Canton, Cleveland, and Youngstown areas. Their choice of drug is

             marijuana and/or cocaine. They utilize young females to travel to source cities to

             bring back cocaine or marijuana. Summit County investigations have found Jamaican

             females attempting to smuggle marijuana and/or cocaine concealed in luggage items

             via airline services at the Akron-Canton Regional Airport.


             Mexican drug trafficking organizations operate primarily in the metropolitan areas of

             Ashtabula, Cuyahoga, Lake and Stark counties in Northeastern Ohio. They distribute

            marijuana in multi -hundred kilogram quantities, cocaine in multi -ounce to kilogram

            quantities, crystal methamphetamine in multi -kilogram quantities, as well as Black

            Tar and brown heroin. Marijuana, cocaine, methamphetamine and heroin are

            primarily transported into the area from the Southwest Border States. Methods of

            transport include private and commercial vehicle traffic utilizing the United States

            Highway System, couriers utilizing airline services and shipments through parcel /

            package delivery systems.


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             Additional drug trafficking organizations operating in the Northeast Ohio
C            influencing the illicit drug markets of Summit County include African- American

             organizations dealing in powder and crack cocaine. Nigerians and Puerto Ricans

             dealing in heroin, in the Cleveland area. Asian organized criminal groups from

             Canada dealing in MDMA. In addition, outlaw motorcycle gangs deal in

             methamphetamine and cocaine.


             Current intelligence and law enforcement operations suggest that an unknown number

             of local independent groups are involved in the manufacture and distribution of

             methamphetamine and to a lesser extent, MDMA.


             Street Gangs are prevalent throughout Summit County. These small organizations

             distribute crack cocaine, heroin, MDMA and/or marijuana. Gangs identified in
C            Summit County include, but may not be limited to:

             Kaika Klan Outlaws / 9 Kingz

             Hilltop / Circle / 7714                                                                 V


             V-Nots
                                                      111111111.11.1111111Er
             Wages

             Hilf gaz                                            QG(
             T -Nots / YHB
                                                                  CYC
                                                                      if        111.

             Young Hill Girls (YHG)
                                                               ON.'FRI. % -X00
             Sick of Struggling (SOS)

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             Southside Bezzlers

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            Firestone Park Fighters
C
            North Side Gangsters (NSG) / (Bottom Hawks)

            South Bronx Gangsters (SBG)

            Asian Crips / Laos Crips

            Asian Crip Girls                                                                   '


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            East Side Bloods                                                      c.
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            Cold Boy Clic (CBC)                                     Or   A
                                                                         g
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                                                            \                          N   ;
            Parkside Posse

            K-Town Gangsters (KTG)

            Lil KTG

            Head Banging Niggas (HBN)

            Minni Park Thugs (MPT)

            Original Killers (OK)

            51/50 Bloods

            K-Town Soldiers (KTS)

            111 Mafia Crips (West Akron)

            111   Mafia / WKGB

            Latin Kings

            Death Squad

            Highrollers/Rebels

            327 Black Mafia / 7 Boys

            Insane Vice Lords

            Folk Nation / BGD

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            Icebergs

            Noganeers / ICP

            Rollin 20's Crips

            North Coast 12 MC

            Georgia Block

            Heights Boyz

            Blue Devil Crips

            Fairlawn Hilltoppers

            The Squad

            Los Angeles Crips

            Whitney Strip

            Fess Bloc

            Pegasus Gang

            Noble Blocc

            Dirty South

            Chesty Black Soldiers

            Hell's Angels MC

            Akron Motorcycle Club MC

            Zulu's MC


            Intelligence information obtained by the Akron Police Department's Street Crimes /

            Gang Unit indicate that the gangs in Summit County are connected to and supplied

            from source cities including; Los Angeles, California, Detroit, Michigan, Atlanta,


O           Georgia, Chicago, Illinois and Cleveland, Ohio. Members of the Crips street gang



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C            are also connected throughout northeast Ohio via Akron, Youngstown and

             Ashtabula.

             Gang members have a propensity to violence and will utilize firearms

             to protect their "turf" and carry on their drug trafficking activities. In 2004 a ten year

             old boy was shot when he was caught in crossfire during a turf war shootout in north

             Akron. Current intelligence indicates that the V -Nots and Chesty Black Soldiers are

             carrying on a west side war in west Akron. At least two homicides and several

             shootings have been attributed to this struggle. The Akron Police Gang Unit, Gang

             Security Threat Assessment indicates that of 103 homicides occurring in the City of

             Akron between 1997 and 2004, thirty -five or thirty-three percent have been

             established as gang related.



             C. Activities

             Drug Trafficking Organizations operating in the Northeast Ohio / Summit County

             area typically transport illicit drugs into the area. Normally drugs are not produced in

             the region with the exception of the conversion of cocaine powder to crack and

             limited methamphetamine production.

             Crack conversion normally occurs close to the retail distribution level in order to

             decrease the risk of sever forfeiture penalties in the event of intervention by law

             enforcement authorities.

             The drug trafficking organizations operating in Northeast Ohio / Summit County use

             relatively the same smuggling and distribution techniques to varying degrees, to

O            include:



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C
             Domestic and international express mail courier service

             Commercial and private aircraft

             Small private express courier services

             Internal body carriers

             Personal luggage checked or carried by couriers

             Commercial and private watercraft

             Concealed compartments on vehicles, containers, crates

             Amtrack and Greyhound

             Railroad freight cargo

             Rental vehicles

             Commercial / private trucks


             Drug trafficking organizations operating in the northeast Ohio / Summit County area

             are increasingly utilizing state -of-the -art communications and surveillance devices.

             These devices include traditional cellular phones, cell phones with two -way radio

             capability, pre -paid "disposable" cell phones, pay phones, alpha/numeric pagers,

             electronic money transfers, fax machines and computers (including internet services),

             electronic surveillance /counter surveillance devices, communication intercept

             devices, radio frequency detectors and high tech visual/audio equipment.




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             V.       Violent and Property Crime Rates

             Summit County, Ohio

             2002
                                                              Aggravated
             Agency             Homicide     Robbery          Assault      Rape   Burglary

             Akron              19           655              364          168    3,099

             Barberton                        23               26           19     268

             Cuyahoga Falls                   14               40           18     229

             Fairlawn                          6                                     15

             Hudson                            1               3             2       42

             Lakemore                                          8                     20

             Mogadore                          1                                     14


c            Norton

             Stow               1
                                               6

                                              18
                                                               4

                                                               7             2
                                                                                     83

                                                                                    132

             Tallmadge                         8              15             6       86

             Twinsburg                         1               6             3      25

             Monroe Falls                      1                             1       28

             Peninsula                                                                i

             Springfield Twp.                 14               11            7      127

             Copley Twp.            1          9                6            3       42

             Franklin Twp.                     3                2            2       86

             Summit Sheriff                   28              42            14     264

             Total              21           788              534          245    4,561


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G            2003
                                                          Aggravated
             Agency             Homicide   Robbery        Assault      Rape   Burglary
             Akron              16         624            447          216    3,209

             Barberton                      23             22           19      177

             Cuyahoga Falls      1           6             25            7       90

             Fairlawn                        8             3             1       14

             Hudson                          2              1            2       45

             Lakemore                                                             8

             Mogadore                                                             8

             Norton                          5             6                     68

             Stow                            8             4            11      116

0            Tallmadge           1          10             8             7       75

             Twinsburg                       5             2             3       35

             Monroe Falls                                                1       12

             Peninsula                       1                                    1



             Springfield Twp.               13              7            9      161

             Copley Twp.                     8              2            2       42

             Franklin Twp.                   2              4            3       89

             Summit Sheriff                 25             15           18      277

             Total              18         740            546          299    4,427




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          VI      Outlook:

          Powdered and crack cocaine will continue to represent the most significant drug threat to

          the Summit County area. Cocaine will likely remain the predominant drug problem in the

          county's population centers.

          Crack cocaine will continue to                   N%
                                                                .




          be the greatest threat to the

          inner -city neighborhoods and

          violent crime associated with

          the distribution of crack will

          continue to be a serious problem

          for the citizens residing in these areas. Significant multi -kilogram distribution targets

          continue to emerge as the focus of investigations for the task force. Large scale
G
          distribution of the drugs will be carried out by sophisticated Mexican, Dominican and

          Jamaican drug trafficking organizations. Street gangs with access to these organizations

          will continue to distribute the drugs in low income population centers. Violence will

          continue to plague distributors, abusers and innocent citizens. A Portage Lakes, Coventry

          Township cocaine dealer was murdered by two suspects seeking to rob him of drugs

          and/or monies. In an undercover investigation targeting members of the Kakia Klan

          Outlaws Street Gang, gang members on two occasions attempted to rob at gunpoint an

          undercover FBI Agent. In the first quarter of 2005, efforts by the Summit County Drug

          Unit and the Greater Akron Drug Task Force resulted in the seizure of more than 14

          kilograms of powdered and crack cocaine combined. Since 2001, the Summit County

          Drug Unit alone has seized more than 105 kilograms of powdered and crack cocaine.




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O         Heroin abuse and distribution will likely continue to rise through the area. The drug is

          widely available, and obtained from distributors in nearby Cuyahoga, Mahoning and

          Lucas Counties. Mexican drug trafficking organizations have attempted to set up a Black

          Tar heroin distribution site in Northeast Ohio. It is likely that these attempts will

          continue. Ohio Highway Patrol interdiction efforts in 2004 resulted in the seizure of one

          and three -quarter kilograms of heroin in the Summit County area.


          Methamphetamine abuse and production will continue to dominate all areas of the

          County's population. The seizure of methamphetamine sites in Summit County continues

          to grow. In 2001, 16 sites were seized. In 2002, 22 sites were seized. In 2003, 60 sites

          were seized. In 2004, 126 sites or one -quarter of the entire State of Ohio's sites were

          seized. The task force is currently poised to exceed this number for calendar year 2005.

O         With continued education and awareness provided to safety forces, local merchants and

          the general public, more intelligence will be received leading to further seizures. These

          production sites affect not only the abusers but investigating officers, other safety

          personnel and citizens who become exposed as the result of innocent contact, in a motel

          room for example. Addicts and cooks are unpredictable in their behavior. In a Summit

          County investigation, a principle in a distribution organization, also a fugitive planned to

          kidnap and murder a homeless person and burn the body leaving the fugitives'

          identification so that law enforcement authorities would believe him dead and cancel

          warrants for his arrest. His location was determined and he was arrested before he could

          carry out this plan. Aside from locally produced methamphetamine, Ice or crystal

          methamphetamine will continue to be smuggled into the area for distribution from

0         clandestine labs under the control of Mexican drug trafficking organizations. In 2005, the



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G         Summit County Drug Unit completed a three -year investigation employing                                                              12    Title

          Three wiretaps, on three drug trafficking organizations engaged in poly -drug trafficking

          conspiracies. Conservative estimates by the Drug Enforcement Administration indicate

          that two local drug trafficking organizations acquired and distributed more than 200

          pounds of crystal methamphetamine, produced by Mexican drug trafficking organizations

          in clandestine labs operating in Mexico and Georgia. Members of these drug

          organizations willingly engaged in violent behavior to protect their interests, including

          acts of armed robbery and murder. Since 2001, the Summit County Drug Unit has seized

          more than four kilograms of methamphetamine as a result of investigations.




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O
                                Three charged with making meth
                         Coventry firefighters save people from fumes in latest lab
                                                  incident

                                      Akron Beacon Journal, April 7, 2005




          Marijuana will continue to be the most widely abused drug in the Summit County, area. It

          is and will continue to be widely available throughout the Summit County area.

          Marijuana abuse and distribution does and will continue to bridge all socio- economic and

          ethnic divisions. In a Summit County marijuana investigation in the City of Stow, a

          moderate to high income community in northeastern Summit County, juveniles as well as

          adults were arrested at a local hang out. Charges included both trafficking and possession

C         of marijuana. Since 2001, more than 50 percent of the Summit County Drug Unit's 1,086

          arrests are related to marijuana. Mexican criminal groups with access to well -developed

          supply and distribution networks likely will remain the principle wholesale distributors of

          Mexican marijuana in the Summit County, Ohio area. Canadian `BC" marijuana will

          continue to be smuggled across the border. Ohio's border and lack of adequate law

          enforcement authorities to patrol the areas will facilitate the efforts of Canadian drug

          trafficking organizations to supply the County's illicit markets. Local growers will

          continue to cultivate outdoor plots and indoor hydroponic operations. Distributors will

          continue to utilize the United States Highway System, Airlines and parcel / package

          delivery services to smuggle marijuana into Summit County. Since 2001 Summit County

          interdiction officers have seized more than 1,300 pounds of marijuana via parcel /

          package delivers services and the Summit County Drug Unit has seized more than 3,000



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           pounds of marijuana overall.
C)


                               Police confiscate 124 pounds of pot
                            "Authorities obtained a search warrant and found
                          marijuana, drug scales, paraphernalia and a .38- caliber
                                          revolver in his home"

                                  Akron Beacon Journal, February 12,2005




           MDMA (ecstasy) will continue to pose a threat to the region. MDMA is available

           throughout the State of Ohio. In a Summit County Drug Unit investigation two poly -drug

           trafficking organizations were distributing approximately 4,000 MDMA tablets per week

           throughout northeastern and central Ohio, as well as markets in Indiana, Massachusetts,

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           conservatively estimates that these organizations distributed more than 200,000 tablets of

           MDMA during their existence. The MDMA that these organizations distributed were

           obtained through contacts with Asian Organized Crime groups in Canada and Russian

           Organized Crime operating in Ohio. The Summit County Drug Unit has investigations

           currently underway targeting MDMA distributors in northern Summit County.


           Other dangerous drugs including LSD, Psilocybin, will continue to be available in the

           area. In May 2005 Summit County Drug Unit interdiction officers seized psilocybin

           mushrooms in excess of a pound, via parcel / package services. Distribution of these

           substances will be controlled through loosely knit groups. PCP, while not readily



0          available in Summit County, is according to reports from the Ohio Substance Abuse

           Monitoring System, flourishing in Cleveland. Cleveland is within twenty minutes driving


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J         time from Summit County and therefore poses a distribution threat.

          Diverted pharmaceuticals will continue to pose a threat to the area. In Cuyahoga Falls, a

          man with an Ak -47 rifle took over a pharmacy in an attempt to obtain Oxycontin. He

          continued to hold hostages through several hours of negotiations with police until finally

          shooting and killing himself inside the store.


          The drug trafficking organization affecting the greater Summit County, Ohio area utilize

          well established distribution networks to smuggle illicit substances into the area. These

          groups are increasingly becoming aware of techniques used by law enforcement to

          infiltrate their ranks and dismantle them. They are utilizing state -of-the -art

          communication and surveillance devices in the support of their drug distribution


C         operations including, but not limited to, cell phones with two -way radio

          communications capability, alpha/numeric pagers, surveillance/counter surveillance

          devices, and Internet services. For example, in a recent Summit County investigation, a

          poly -drug source from California reputedly contacted his source of supply in Thailand

          via Internet "Hush Mail". This is encrypted messaging from both sender and receiver.

          The service itself is unable to decipher messages if subpoenaed.


          Due to the sophistication and scope of the drug trafficking organizations operating in and

          around Summit County, it is extremely important to attack these groups through a task

          force oriented mission. Since 2001, the Summit County Drug Unit has been involved in

          more than 15 Title Three wiretap investigations; one such investigation ran for three

          years. The result was the complete dismantling of two drug trafficking organizations,

          impacting not only Summit County, but the greater area of Ohio, as well as locations in



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C         Arizona, California, Florida, Indiana, Massachusetts, Minnesota, New York and

          Pennsylvania. The combined resources of manpower, equipment and experience allow

          focused investigations to be carried out against these organizations. Through the efforts

          of the men and women assigned to the Summit County Drug Unit more than $21 million

          dollars worth of illicit drugs and over 235 firearms in hands of drug dealers have been

          removed from the streets of greater Summit County. Under the current economic stresses,

          local police departments, struggling to maintain routine services to their constituents are

          unequipped and undermanned to carry out these complex time consuming investigations.

          Without the availability of a task force many problems will get the "topical band -aid

          treatment" arresting low level street dealers, without reaching the true infection, allowing



c
          drug trafficking organizations to gain major footholds in the area, with little resistance

          from local law enforcement.




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